                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re: Markel Behel                                   )       Case No.: 18-81697-CRJ-12
       SSN: XXX-XX-9193                               )
                                                      )
       Melanie Behel                                  )
       SSN: XXX-XX-5904                               )
                                                      )
               Debtors.                               )       CHAPTER 12
                                                      )


          ORDER CONFIRMING CHAPTER 12 PLAN OF REORGANIZATION

        This matter came before the Court for hearing upon the Debtors’ Amended Chapter 12
Plan filed on October 9, 2018 (Doc. 81). After proper notice, a hearing was held on November 19,
2018, whereupon Tazewell T. Shepard, IV appeared on behalf of the Debtors, Rowlett W. Sneed,
III appeared on behalf of Wayne County Bank, and Michele T. Hatcher on behalf of C. David
Cottingham, Chapter 12 Trustee.

       Upon consideration, this Court finds that the Debtors’ Chapter 12 Plan complies with all
applicable provisions of the Bankruptcy Code governing notice, disclosure, and all other matters
considered by the Court in connection with this case.

      NOW, THEREFORE, based upon the foregoing, it is hereby ORDERED, ADJUDGED
and DECREED as follows:

    1.   The Debtors’ Amended Chapter 12 Plan of Reorganization (Doc. 81) is hereby
CONFIRMED.

       2.    Pursuant to 11 U.S.C. § 1227(a), the Debtors and all creditors in this case are bound
by the Amended Chapter 12 Plan.

       3.      Pursuant to 11 U.S.C. § 1227(b), all property of the Debtors’ estate shall vest in the
Debtors on the confirmation date subject to the provisions of the Amended Chapter 12 Plan, and
the Debtors shall be authorized to resume and conduct their normal course of business without
being required to seek further authority from the Court.

        4.      Pursuant to 11 U.S.C. § 1227(c), except as provided in the Amended Chapter 12
Plan, all property of the estate vests in the Debtors free and clear of any other claims or interests.




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        5.     In accordance with the provisions of the Plan, the Court shall retain jurisdiction
over this case until the Amended Chapter 12 Plan has been substantially consummated and the
case closed.

Dated this the 26th day of November, 2018.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




Prepared by:

Tazewell T. Shepard IV
Attorney for Debtor

Approved by:

Rowlett W. Sneed III
Attorney for Wayne County Bank

C. David Cottingham
Chapter 12 Trustee.




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